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                  EXHIBIT4
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                                                                                            Pagel


     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
                                                    -   -   -   -   -   -   -   -   -   X

     VIRGINIA L. GIUFFRE,


                           Plaintiff,
                                                                    Case No.:
             -against -                                             15-cv- 0 7433 - RWS


     GHISLAINE MAXWELL ,


                           Defendants.


     -   -   -    -    -   -   -   -   -    -   -   -   -   -   -   -   -   -   -   -   X


                                           **CONFIDENTIAL**

                           Videotaped deposition of GHISLAINE
                 MAXWELL, taken pursuant to subpoena , was
                 held at the law offices of BOIES
                 SCHILLER          &   FLEXNER, 575 Lexington
                 Avenue, New York, New York , commencing
                 April 22, 2016, 9:04 a.m., on the above
                 date, before Leslie Fagin, a Court
                 Reporter and Notary Public in the State
                 of New York.



                           MAGNA LEGAL SERVICES
                  12 0 0 Avenue of the Americas
                      New York, New York 10026




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                                                                Page 2
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19             LAURA A. MENNINGER , ESQUIRE
20
21   Also Present:
22       James Christe , videographer
23
24
25




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 2         A.      She was tasked to answer
 3   telephones.
 4         Q.     Did y ou ever ask her to rub
 5   Jeffrey 1 s feet?
 6                MR . PAGLIUCA:   Objection to the

 7         form and foundation.

 8         A.      I believe that I have read that ,

 9   but I don 1 t have any memory of it.

10         Q.     Did you ever tell Johanna that she
11   would get extra money if she provided Jeffrey

12   massages?
13         A.      I was always happy to give career
14   advice to people and I think that becoming
15   somebody in the healthcare profession, either

16   exercise instructor or nutritionist or
17   professional massage therapist is an
18   excellent job opportunity.        Hourly wages are
19   around 7 , 8, $9 and as a professional
20   healthcare provider you can earn somewhere
21   between as we have established 10 0 to $2 00
22   and to be able to travel and have a job that
23   pays that is a wonderful job opportunity.           So
24   in the context of advising people for
25   opportunities for work, it is possible that I




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 2   would have said that she should explore that
 3   as an option.
 4          Q.      Did you tell her she would get
 5   extra money if she massaged Jeffrey?

 6          A.      I ' m just saying, I cannot recall

 7   the exact conversation.          I give career advice

 8   and I have done that.
            Q.      Did you ever have Johanna massage

10   you?
11          A.      I did
            Q.      How many times?

            A.      I don't recall how many times.

14          Q.      Was there sex involved?

15          A.
16          Q.      Did you ever instruct Johanna to

17   massage Glenn Dubin?

18          A.      I don ' t believe -- I have no

19   recollection of it.

20          Q.      Did you ever have sexual contact

21   with Johanna?

22                  MR. PAGLIUCA:     Object to the form

23          and foundation.     You need to give me an

24          opportunity to get in between the

25          questions.




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 2                Anything that involves consensual

 3         sex on your part , I 'm instructing you

 4         not to answer.

 5         Q.      Did you ever have sexual contact

 6   with Johanna?

 7         A.     Again, she is an adult --

 8         Q.      I'm asking you, did you ever have
 9   sexual contact with Johanna?

10         A.      I ' ve just been instructed not to

11   answer.
12         Q.      On what basis?

13         A.      You have to ask my lawyer .

14         Q.      Did you ever have sexual contact

15   with Johanna that was not consensual on
16   Johanna ' s part?
17                 MR. PAGLIUCA:    You can answer

18         nonconsensual.

19         A.      I've never had nonconsensual sex

20   with anybody.

21         Q.      Not Annie Farmer?

22                 MR. PAGLIUCA:    Objection.

23         A.      I just testified I never had
24   nonconsensual sex with anybody ever, at any
25   time, at anyplace, at any time, with anybody.




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